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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                            Case No. 9:16-CV-80170-KAM


  HARBOURSIDE PLACE, LLC, a Florida
  limited liability company,

              Plaintiff,

  v.

  TOWN OF JUPITER, a Florida municipal
  corporation, and JUPITER COMMUNITY
  REDEVELOPMENT             AGENCY,       a
  dependent special district of the Town of
  Jupiter, Florida

            Defendants.
  __________________________________ /

                                NOTICE OF APPEAL

        NOTICE IS HEREBY GIVEN that the Plaintiff, HARBOURSIDE PLACE,

  LLC, appeals to the United States Court of Appeals for the Eleventh Circuit, the

  Order Denying Plaintiff’s Motion for a Preliminary Injunction dated May 10, 2018

  [DE 173], entered by the Honorable Kenneth A. Marra. The nature of the order is

  an interlocutory order refusing an injunction appealable as of right pursuant to 28

  U.S.C. § 1292(a).


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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 8th day of June, 2018, I electronically

  filed the foregoing document with the Clerk of the Court using CM/ECF, and that

  the foregoing document is being served this day on Lyman H. Reynolds, Jr., Esq.,

  ROBERTS, REYNOLDS, BEDARD & TUZZIO, PLLC, Attorneys for

  Defendants, 470 Columbia Drive, Bldg. C101, West Palm Beach, FL 33409, via

  transmission of Notices of Electronic Filing generated by CM/ECF.



                                           By:_/s/ Paul S. Figg    ___________
                                                 Paul S. Figg
                                                 Florida Bar No. 736619

                                               2

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